        Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 1 of 14




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-46-RDM
               v.                             :
                                              :
PATRICK MONTGOMERY,                           :
BRADY KNOWLTON, and                           :
GARY WILSON                                   :
                                              :
                       Defendants.            :


              GOVERNMENT’S OPPOSITION TO DEFENDANTS’
       MOTION TO DISMISS COUNTS THREE, FIVE, AND SIX OF THE THIRD
                       SUPERCEDING INDICTMENT


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits its Response in Opposition to Defendants’ Motion

to Dismiss Counts Three, Five, and Six of the Indictment. ECF No. 152. As set out in greater

detail below, defendants’ motion to dismiss should be denied because: (1) Section 1752 does not

require the government to prove that the restricted area was restricted at the Secret Service’s

direction; (2) Section 1752 is not unconstitutionally vague; and (3) the rule of lenity and the novel

construction principle do not apply.

                                        BACKGROUND

       On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol

building. As a result, the Joint Session and the entire official proceeding of the Congress was
        Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 2 of 14




halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and

ensure the safety of elected officials.

        On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol

building. As a result, the Joint Session and the entire official proceeding of the Congress was halted

until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and ensure

the safety of elected officials.

        On January 6, 2021, at approximately 2:00 p.m., defendants Patrick Montgomery, Brady

Knowlton, and Gary Wilson were outside the Capitol building on the west side. Knowlton

confronted MPD officers who were making their way through the crowd and yelled at them saying,

“You took an oath! You took an oath!” and “Are you our brothers? At approximately 2:02 p.m.,

Montgomery came at Officer Hodges from his side, grabbed Officers Hodges’ baton, and tried to

pull it away from him. Officer Hodges immediately started to fight back and the two of them went

to the ground, at which time Montgomery kicked Officer Hodges in the chest.

        About thirty minutes later, at 2:35 p.m., the defendants entered the Capitol through the

Upper West Terrace door. After first going into the Rotunda for about two minutes, at around 2:40

pm., the defendants entered the Gallery Stairs and walked to the third floor. About one minute

later, they entered the Senate Gallery hallway where they joined a group of rioters. Several rioters

assaulted a USCP officer who was trying to prevent them from entering the Senate Gallery.

        As a result of the assault, the USCP officers fled the hallway, and the defendants entered

the Senate Gallery at about 2:44 p.m. The defendants exited the Senate Gallery at about 2:48 p.m.
        Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 3 of 14




Approximately two minutes later, they entered a second-floor hallway, where they confronted

MPD officers, who prevented them—and other rioters— from walking further down the hallway.

During this confrontation, Knowlton stated in substance to the officers: “All you gotta do is step

aside. You’re not getting in trouble. Stand down. For the love of your country.” and “This is

happening. Our vote doesn’t matter, so we came here for change.” Wilson stated in substance to

the officers: “We came all the way from our jobs to do your job and the freaking senators’ job.”

       At about 2:54 p.m., Wilson, Montgomery, and Knowlton left the building.

       Based on their actions on January 6, 2021, Knowlton, Montgomery, and Wilson are

charged with obstruction of an official proceeding and aiding and abetting, in violation of 18

U.S.C. § 1512(c)(2), along with five misdemeanor charges. Montgomery is also charged with

assaulting, resisting, or impeding certain officers, in violation of 18 U.S.C. § 111(a)(1), civil

disorder in violation of 18 U.S.C. § 231(a)(3), and two additional misdemeanor charges.

Additionally, Knowlton and Wilson are charged with theft offenses for stealing emergency hoods

from the Senate Gallery.

                                     LEGAL STANDARD

       An indictment is sufficient under the Constitution and Rule 7 of the Federal Rules of

Criminal Procedure if it “contains the elements of the offense charged and fairly informs a

defendant of the charge against which he must defend,” Hamling v. United States, 418 U.S. 87,

117 (1974), which may be accomplished, as it is here, by “echo[ing] the operative statutory text

while also specifying the time and place of the offense.” United States v. Williamson, 903 F.3d

124, 130 (D.C. Cir. 2018). “[T]he validity of an indictment ‘is not a question of whether it could

have been more definite and certain.’” United States v. Verrusio, 762 F.3d 1, 13 (D.C. Cir. 2014)

(quoting United States v. Debrow, 346 U.S. 374, 378 (1953)). An indictment need not inform a
        Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 4 of 14




defendant “as to every means by which the prosecution hopes to prove that the crime was

committed.” United States v. Haldeman, 559 F.2d 31, 124 (D.C. Cir. 1976).

       Rule 12 permits a party to raise in a pretrial motion “any defense, objection, or request that

the court can determine without a trial on the merits.” Fed. R. Crim. P. 12(b)(1) (emphasis added).

It follows that Rule 12 “does not explicitly authorize the pretrial dismissal of an indictment on

sufficiency-of-the-evidence grounds” unless the Government “has made a full proffer of evidence”

or the parties have agreed to a “stipulated record,” United States v. Yakou, 428 F.3d 241, 246-47

(D.C. Cir. 2005) (emphasis added)—neither of which has occurred here.

       Indeed, “[i]f contested facts surrounding the commission of the offense would be of any

assistance in determining the validity of the motion, Rule 12 doesn’t authorize its disposition

before trial.” United States v. Pope, 613 F.3d 1255, 1259 (10th Cir. 2010) (Gorsuch, J.). Criminal

cases have no mechanism equivalent to the civil rule for summary judgment. See e.g., United States

v. Bailey, 444 U.S. 394, 413, n.9 (1980) (“[M]otions for summary judgment are creatures of civil,

not criminal trials”); Yakou, 428 F.3d at 246-47 (“There is no federal criminal procedural

mechanism that resembles a motion for summary judgment in the civil context”); United States v.

Oseguera Gonzalez, No. 20-CR-40 (BAH), 2020 WL 6342948 at *5 (D.D.C. Oct. 29, 2020)

(collecting cases explaining that there is no summary judgment procedure in criminal cases or one

that permits pretrial determination of the sufficiency of the evidence). Accordingly, dismissal of a

charge does not depend on forecasts of what the Government can prove. Instead, a criminal

defendant may move for dismissal based on a defect in the indictment, such as a failure to state an

offense. See United States v. Knowles, 197 F. Supp. 3d 143, 148 (D.D.C. 2016). Whether an

indictment fails to state an offense because an essential element is absent calls for a legal

determination.
         Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 5 of 14




         Thus, when ruling on a motion to dismiss for failure to state an offense, a district court is

limited to reviewing the face of the indictment and more specifically, the language used to charge

the crimes. See e.g., United States v. Bingert, 605 F. Supp. 3d 111, 118 (D.D.C. 2022) (a motion

to dismiss challenges the adequacy of an indictment on its face and the relevant inquiry is whether

its allegations permit a jury to find that the crimes charged were committed); United States v.

McHugh, No. 21-CR-453 (JDB), 2022 WL 1302880 at *2 (D.D.C. May 2, 2022) (a motion to

dismiss involves the Court’s determination of the legal sufficiency of the indictment, not the

sufficiency of the evidence); United States v. Puma, No. 21-CR-454 (PLF), 2022 WL 823079 at

*4 (D.D.C. Mar. 19, 2022) (“In ruling on a motion to dismiss for failure to state an offense, a

district court is limited to reviewing the face of the indictment and, more specifically, the language

used to charge the crimes”) (quoting United States v. Sunia, 643 F.Supp. 2d 51, 60 (D.D.C. 2009)).

                                           ARGUMENT

          Defendants’ attacks on Counts Three, Five, and Six are all without merit.

    I.      As Courts Have Uniformly Held, Section 1752 Does Not Require the Government
            to Prove that the Restricted Area was Restricted at the Secret Service’s Direction.

         Defendants argue that Counts Three, Five, and Six should be dismissed for failure to state

an offense because the U.S. Capitol Police, and not the Secret Service, designated the “restricted

area” around the U.S. Capitol on January 6, 2021. ECF No. 152. However, nothing in the express

language of Section 1752 requires that the U.S. Secret Service designate the “restricted area,” and

defendant’s attempt to read such a requirement as implied in the statutory language goes against

the common sense reading of the text and its legislative history, as all the courts in this district to

address this issue, including this Court, have held. 1


1
 See, e.g., United States v. Griffin, 549 F. Supp. 3d 49, 52–58 (D.D.C. 2021) (denying motion to
dismiss charge of violating 18 U.S.C. § 1752(a)(1)); United States v. Mostofsky, 21-CR-138 (JEB),
2021 WL 6049891, at *12–13 (D.D.C. Dec. 21, 2021) (18 U.S.C. § 1752(a)(1)); United States v.
        Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 6 of 14




       Section 1752 provides in relevant part:

       (a) Whoever—
           (1) knowingly enters or remains in any restricted building or grounds without
               lawful authority to do so; [or]
           (2) knowingly, and with intent to impede or disrupt the orderly conduct of
               Government business or official functions, engages in disorderly or
               disruptive conduct in, or within such proximity to, any restricted building
               or grounds when, or so that, such conduct, in fact, impedes or disrupts the
               orderly conduct of Government business or official functions;
               …

       (c) In this section—
           (1) [T]he term “restricted buildings or grounds” means any posted, cordoned
           off, or otherwise restricted area—
                (B) of a building or grounds where the President or other person protected
                by the Secret Service is or will be temporarily visiting;

18 U.S.C. § 1752. Section 1752 also defines “restricted building or grounds” to include any posted,

cordoned off, or otherwise restricted area “of the White House or its grounds, or the Vice

President’s official residence or its grounds” or “of a building or grounds so restricted in

conjunction with an event designated as a special event of national significance.” 18 U.S.C.

§§ 1752(c)(1)(A), (C).

       The language of Section 1752 contains no express requirement that the “restricted

buildings or grounds” must be restricted by USSS for there to be a violation of Section 1752.

Nonetheless, defendants argue that such a requirement is implicit in the statutory language. ECF

No. 152 at 3. However, because the plain language of the statute is clear and unambiguous, reading

the implied requirement provided by the defendants is unwarranted. Even if one were to look




Nordean, 21-CR-175 (TJK), 2021 WL 6134595, at *18–19 (D.D.C. Dec. 28, 2021) (18 U.S.C.
§ 1752(a)(1)); United States v. Andries, 21-CR-93 (RC), 2022 WL 768684, at *12-16 (D.D.C.
Mar. 14, 2022) (18 U.S.C. §§ 1752(a)(1) and (a)(2)); United States v. Puma, 21-CR-454 (PLF),
2022 WL 823079, at *13-16 (D.D.C. Mar. 19, 2022) (18 U.S.C. § 1752(a)(1) and (a)(2)); United
States v. Sargent, No. 21-CR-258 (TFH), 2022 WL 1124817, at *9 (D.D.C. Apr. 14, 2022) United
States v. Bingert, 605 F. Supp. 3d at 130-132 (18 U.S.C. § 1752(a)(1)).
        Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 7 of 14




beyond this plain language, the legislative history of Section 1752 also weighs against defendants’

interpretation.

       First, “absent from the text is any mention of a requirement that any specific entity must

restrict or cordon off the area, let alone a requirement that only the Secret Service may be the

restricting entity.” Andries, 2022 WL 768684, at *14 (citation omitted). Section 1752 proscribes

certain conduct in and around “any restricted building or grounds,” see 18 U.S.C. § 1752(a), and

it provides three definitions for the term “restricted buildings and grounds,” see § 1752(c)(1),

including “any posted, cordoned off, or otherwise restricted area . . . of a building or grounds where

the President or other person protected by the Secret Service is or will be temporarily visiting,”

§ 1752(c)(1)(B). Through a cross-reference, Section 1752 makes clear—and the defendants do not

appear to dispute—that “person[s] protected by the Secret Service” include the Vice President.

§ 1752(c)(2); see § 3056(a)(1). The proscribed conduct within a “restricted building or grounds”

includes, as relevant here, knowingly and unlawfully entering or remaining, § 1752(a)(1), and

knowingly and with intent to impede or disrupt government business, engaging in “disorderly or

disruptive conduct” that “in fact, impedes or disrupts” “government business,” § 1752(a)(2); and

knowingly engaging in any act of physical violence against any person or property, § 1752(a)(4).

       In short, Section 1752 “prohibits persons from knowingly entering without lawful authority

to do so in any posted, cordoned off, or otherwise restricted area of a building or grounds where a

person protected by the Secret Service is or will be temporarily visiting.” Wilson v. DNC Servs.

Corp., 417 F. Supp. 3d 86, 98 (D.D.C. 2019), aff’d, 831 F. App’x 513 (D.C. Cir. 2020). Where, as

here, the words of the statute are unambiguous, “the judicial inquiry is complete.” See

Babb v. Wilkie, 140 S. Ct. 1168, 1177 (2020) (internal quotation marks omitted). However, under

defendants’ interpretation of Section 1752, there is an additional, implied requirement unstated in
        Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 8 of 14




the statutory language above that any restricted area must be designated by USSS. There is no such

requirement, nor is there any credible rationale why one should be inferred.

       And while looking beyond the plain language is unwarranted here, see United States v.

American Trucking Associations, 310 U.S. 534, 543 (1940) (stating that looking beyond clear

statutory text is appropriate where the results would be absurd or demonstrably at odds with clearly

expressed Congressional intent), the legislative history of Section 1752 in fact affirms the plain

reading of the text that the defendants resist. See Andries, 2022 WL 768684, at *14 (finding that

similar “extra-textual considerations at best do not support [defendant’s] reading [of Section 1752]

and at worst undermine it”). As the defendants acknowledge, when Section 1752 was first enacted

in 1970, USSS was part of the Treasury Department, and this original version of the statute

explicitly incorporated regulations promulgated by the Treasury Department governing restricted

areas. See United States v. Bursey, 416 F.3d 301, 306-07 (4th Cir. 2005) (noting that definition of

restricted area required interpreting Treasury regulations). Specifically, subsection (d) of Section

1752 gave authority to the Department of the Treasury, which oversaw USSS, to “prescribe

regulations governing ingress or egress to such buildings and grounds and to posted, cordoned off,

or otherwise restricted areas where the President is or will be temporarily visiting.” Pub. L. 91-

644, Title V, Sec. 18, 84 Stat. 1891-92 (Jan. 2, 1971). However, when Congress revised Section

1752 in 2006, it struck subsection (d) from the statute, eliminating the requirement that “restricted

building or grounds” be necessarily defined or designated by USSS or any other particular law

enforcement agency. Pub. L. 109-177, Title VI, Sec. 602, 120 Stat. 192 (Mar. 9, 2006). In 2012,

Congress further reinforced this interpretation by adding the definitional subsection (c) cited

above, which provides the current definition of “restricted building or grounds.” Pub. L 112-98,

Title I, Sec. 2, 126 Stat 263 (March 8, 2012). Contrary to the defendants’ reading, the legislative
         Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 9 of 14




history shows that Congress deliberately excised any requirement that a restricted area depend on

any definition or determination by USSS.

         Both the plain language and legislative history of Section 1752 show that there is no

requirement, express or implied, that an area be restricted by a particular law enforcement agency,

as courts in this district have unanimously held. See United States v. Grider, --- F.Supp.3d ---,

2022 WL 3016775, at *7 (D.D.C. July 29, 2022) (collecting cases) (internal quotations omitted)

(“[N]othing in the statutory text requires the Secret Service to be the entity to restrict or cordon off

a particular area”); Bingert, 605 F. Supp.3d at 131 (“[D]efendants fashion a bizarre requirement,

seemingly out of thin air: that only the Secret Service can designate an area as restricted [for the

purposes of 18 U.S.C. § 1752].”); United States v. Rhine, No. 21-CR-687 (RC), 2023 WL 372044,

at *11 (D.D.C. Jan. 24, 2023). Defendants’ contention that these counts of the indictment are

defective for this reason should be likewise rejected.

   II.      Section 1752 is Not Unconstitutionally Vague.

         The defendants also raise various vagueness challenges to Section 1752(a)(2), all of which

fail. As the defendants fails to acknowledge, Judges Friedman, Bates, Kelly, McFadden, and

Cooper have all rejected vagueness challenges to 18 U.S.C. 1752(a)(1) and (a)(2). Grider, 2022

WL 3016775, at *7; Puma, 2022 WL 823079, at *3 (“This Court concludes that … 18 U.S.C.

§ 1752 [is] not unconstitutionally vague.”) (Friedman, J.); Bozell, 2022 WL 474144, at

*9 (“§ 1752 “is clear[,] gives fair notice of the conduct it punishes, and [does not] invite arbitrary

enforcement.”); United States v. Nordean, 579 F. Supp. 3d 28, 60 (D.D.C. 2021)

(§ 1752(a)(1) and (a)(2) are “not unconstitutionally vague”); Griffin, 549 F. Supp. 3d at 57 (“This

law is no trap awaiting the unwary.”); United States v. Caputo, 201 F. Supp. 3d 65, 72 (D.D.C.

2016) (“18 U.S.C. § 1752(a)(1) is … not void for vagueness.”) (Cooper, J.)
        Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 10 of 14




        First, the defendants argue that the straightforward interpretation described above is

unconstitutionally vague because the statute fails to provide no notice that crossing a barrier

erected by an entity other than the Secret Service is criminal. A statue is vague where it (1) fails

to give ordinary people fair notice of the conduct it punishes or (2) is so standardless that it invites

arbitrary enforcement. Johnson v. United States, 576 U.S. 591, 595 (2015). Neither applies to

Section 1752. As set out above, Section 1752 prohibits the defendant from knowingly engaging in

certain conduct in “any posted, cordoned off, or otherwise restricted area, of … grounds where the

President or other person protected by the Secret Service is or will be temporarily visiting.” 18

U.S.C. § 1752(a), (c)(1)(B). As explained above, the statute is not vague: rather, it clearly does

not require that the Secret Service restrict the area. Defendants’ apparent mistake of law about an

interpretation of the statute contrary to its plain text does not make the statute vague. See United

States v. Neely, No. CR 21-642 (JDB), 2023 WL 1778198, at *4 (D.D.C. Feb. 6, 2023) (rejecting

identical argument and observing, “there is no reasonable divergence of opinion”). As Judge

McFadden held in United States v. Griffin, “[1752] does not invite arbitrary enforcement by

criminalizing common activities or giving law enforcement undue discretion.” 549 F. Supp. 3d 49,

57 (D.D.C. 2021). Therefore, Section 1752 is not unconstitutionally vague as to the identity of the

restricting party. 2




2
  Defendants’ unsupported claim that the statute is vague because the government “had never
prosecuted a violation of that statute with the allegation that the accused entered an area restricted
by some government agency other than the USSS” (Mot. at 16) is wrong. “Discretionary
prosecutorial decisions cannot render vague as applied a statute that by its plain terms provides
fair notice.” United States v. Caldwell, 21-cr-28 (APM), 2021 WL 6062718, at *8 (D.D.C. Dec.
20, 2021); see also United States v. Montgomery, 21-cr-46 (RDM), 2021 WL 6134591, at *22
(D.D.C. Dec. 28, 2021) (“the presence of enforcement discretion alone does not render a statutory
scheme unconstitutionally vague”) (quoting Kincaid v. District of Columbia, 854 F.3d 721, 729
(D.C. Cir. 2017) (Kavanaugh, J.)). The vagueness doctrine is directed at the notice that the statute
itself provides, not the government’s enforcement decisions.
        Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 11 of 14




        Defendants also attack the charges brought under Section 1752(a)(2), “insofar as they both

allege that the Defendant entered and remained in a “restricted area” set by an agency nowhere

identified in the statute, Counts Three, Five, and Six are unconstitutionally vague.” ECF No. 152

at 10. But the defendants ignore the explicit language of the Indictment, which alleges that the

defendants each entered and remained “in a restricted building and grounds” (Count 5) and that

defendant engaged in disorderly and disruptive conduct “in and within such proximity to”

restricted grounds (Count 6). ECF No.23 (emphasis added). Thus, the Indictment alleges that the

defendants were not just “within such proximity” to a restricted area but was in fact within a

restricted area. “So whatever ‘fuzzy boundary standard[]’ that phrase may introduce is irrelevant

here.” Nordean, 579 F. Supp.3d at 60, n.16.3 See also, United States v. Griffith, No. 21-CR-244,

2023 WL 1778192, at *3 (D.D.C. Feb. 6, 2023); United States v. Egtvedt, 21-CR-177, Dkt. Entry

93 at 13, n.2.

        Judge Bates’ decision rejecting the same vagueness challenge in Neely is instructive. As

in Griffith and Egtvedt, Judge Bates first pointed out that the indictment alleged that the defendant

was “in” the restricted area, not merely in proximity to it. Neely, 2023 WL 1778198, at *4.

Moreover, Judge Bates found, the boundary-based vagueness argument failed because it did not

“grapple with the mens rea element of the statute, which requires him to have acted “knowingly,

and with intent to impede or disrupt the orderly conduct of Government business or official

functions.” Id. at *5 (citing Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489,



3
  While the Court should reject the vagueness claim based solely on the statute and the indictment,
the government expects that the facts at trial will show that the defendants were within the
restricted area, and so would clearly be on notice that their conduct violated the statute, regardless
of their quibble with the “proximity” provision. “A [defendant] who engages in some conduct that
is clearly proscribed cannot complain of the vagueness of the law as applies to the conduct of
others.” Nordean, 579 F. Supp. 3d 28, at 57 (citing Holder v. Humanitarian Law Project, 561 U.S.
1, 18–19 (2010) (cleaned up).
          Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 12 of 14




499 (1982) (“[A] scienter requirement may mitigate a law’s vagueness ....”). Like Neely, the

defendants “[do] not argue that description of the conduct regulated—disorderly conduct that

disrupts government business—is vague.” For this additional reason, the defendants’ motion fails.

   III.      The Rules of Lenity and the Novel Construction Principle Do Not Apply.

          As every other court to address this issue has concluded, the language of Section 1752(a)

is unambiguous. Therefore, the Court need not resort to the rules of lenity and the novel

construction principle. As Judge McFadden explained last year when rejecting nearly identical

arguments that the rules of lenity and constitutional avoidance should apply as a result of Section

1752’s purported ambiguity,

          [Defendant] invokes the doctrine of lenity and the “novel construction principle.”
          Neither applies. Lenity is “a sort of junior version of the vagueness doctrine.” It
          comes into frame only when a court has exhausted all canons of statutory
          construction and is left with only a coin flip to resolve “grievous ambiguity.”

          As the Court has explained, Section 1752 is capacious, not ambiguous.
          [Defendant’s] “ability to articulat[e] a narrower construction” of the statute does
          not trigger lenity. Nor has there been an “unforeseen judicial enlargement” of a
          longstanding criminal statute so that it operates like an ex post facto law.
          [Defendant] has allegedly violated a rarely charged statute, but that does not mean
          the construction of the statute unfairly blindsided him. There was no prevailing
          practice of courts foregoing or rejecting the interpretation that the Government now
          advances.

Griffin, 549 F. Supp. 3d at 57-58 (citations omitted).

          Judges of this district have rejected attempts to cast Section 1752 as “ambiguous.” “§ 1752

‘is clear[,] gives fair notice of the conduct it punishes, and [does not] invite arbitrary

enforcement.’” United States v. Bozell, No. 21-CR-216 (JDB), 2022 WL 474144, at *9 (D.D.C.

Feb. 16, 2022) (citing United States v. Nordean, No. 21-cr-175 (TJK), 2021 WL 6134595, at *19

(D.D.C. Dec. 28, 2021)); Griffin, 549 F. Supp. 3d at 57 (“this law is no trap awaiting the

unwary.”)).
       Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 13 of 14




       For the same reasons, Section 1752 is not an ex post facto law, as the defendants argues.

As Judge Kollar-Kotelly found, rejecting an identical challenge in Grider:

       Grider has identified no precedent adopting his reading. Indeed, it is Defendant's
       reading of these statutes that appears to be novel.” has concluded above, neither
       section 231 nor section 1752 are, for present purposes, susceptible of more than one
       meaning. The fact that Grider ‘has allegedly violated a rarely charged statute,’ or
       that the Government has applied the challenged provisions to conduct at the United
       States Capitol, ‘does not mean that the construction of the[se] statute[s] unfairly
       blindsided him.

Grider, 2022 WL 3016775, at *8 (citing and quoting Griffin, 549 F. Supp. 3d at 58). Defendants’

ex post facto, novel construction, and lenity arguments all fail because, in summary, they rest on

the premise that Section 1752 suggests that the Secret Service must restrict the area; a premise that

is not only incorrect but is without support in the statutory text.

                                          CONCLUSION

       For the foregoing reasons, the Government respectfully requests that defendants’ motion

to dismiss Counts Three, Five, and Six be denied.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY
                                               DC BAR NO. 481052

                                       By:     /s/ Kelly E. Moran
                                               KELLY E. MORAN
                                               Assistant United States Attorney
                                               NY Bar No. 5776471
                                               U.S. Attorney’s Office for the District of Columbia
                                               601 D Street, N.W.
                                               Washington, D.C. 20530
                                               202-740-4690
                                               kelly.moran@usdoj.gov

                                               /s/ Carolina Nevin
                                               CAROLINA NEVIN
                                               Assistant United States Attorney
                                               NY Bar No. 5226121
Case 1:21-cr-00046-RDM Document 163 Filed 07/31/23 Page 14 of 14




                             U.S. Attorney’s Office for the District of Columbia
                             601 D Street, N.W.
                             Washington, D.C. 20530
                             202-803-1612
                             carolina.nevin@usdoj.gov
